                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                          CASE NO. 3:95-CR-5-FDW-DCK


UNITED STATES OF AMERICA,                )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )                      ORDER
                                         )
MARC PIERRE HALL,                        )
                                         )
       Defendant                         )


       THIS MATTER IS BEFORE THE COURT sua sponte regarding Defendant’s

“Application For Admission To Practice Pro Hac Vice” (Document No. 910) concerning George

Bundy Smith, filed August 15, 2012.

       The undersigned notes that U.S. District Judge Frank Whitney entered a Text Only Order

deferring the ruling on the aforementioned motion on August 16, 2012. Unaware of this, the

undersigned entered an order granting that motion (Document No. 912) on August 17, 2012.

The undersigned’s Order is hereby withdrawn. The motion remains open and will be considered

by Judge Whitney.

       IT IS THEREFORE ORDERED that the undersigned’s order granting pro hac vice

admission (Document No. 912) is WITHDRAWN.

       SO ORDERED.



                                             Signed: August 22, 2012




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